Case 20-10195-jal        Doc 12    Filed 03/20/20       Entered 03/21/20 01:03:19            Page 1 of 3

                 UNITED STATES BANKRUPTCY COURT
                                  Western District of Kentucky
        IN RE:                                                        Case No.:20−10195−jal
        Phillip Clay Huckelby
        and Lisa Susan Huckelby
                                                                      Chapter: 7
                                   Debtor(s)                          Judge: Joan A. Lloyd




                                               NOTICE
        TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

        Please be advised that the following matter has been Entered by the Court on this date:

        Notice concerning Section 341 Meeting. Effective immediately, all in−person chapter 7,
        12, and 13 section 341 meetings scheduled through April 10, 2020, are hereby
        continued until a later date to be determined. Absent special circumstances, section 341
        meetings may not proceed during this period except through telephonic or other
        alternative means not requiring personal appearance by debtors. Appropriate notice will
        be provided to parties in accordance with bankruptcy law and rules. Meetings already
        noticed as telephonic meetings may proceed as scheduled. (Merrill, Charles)



        Dated: 3/18/20
                                                             FOR THE COURT
        By:                                                  Elizabeth H. Parks
        Deputy Clerk                                         Clerk, U.S. Bankruptcy Court
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                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 20-10195-jal
Phillip Clay Huckelby                                                                                      Chapter 7
Lisa Susan Huckelby
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0644-1                  User: tpreston                     Page 1 of 2                          Date Rcvd: Mar 18, 2020
                                      Form ID: 267                       Total Noticed: 31


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 20, 2020.
db/jdb         +Phillip Clay Huckelby,    Lisa Susan Huckelby,     549 Hurt Road,    Burkesville, KY 42717-7429
6664697        +American Clinical Solutions,    2234 N Federal HWY Ste 469,     Boca Raton, FL 33431-7710
6664698         Associates in Pulmonary,    Gul K Sahetya MD,     PO Box 90039,    Bowling Green, KY 42102-9039
6664699        +B F Taylor Medical Arts Center,     PO Box 630,    Burkesville, KY 42717-0630
6664702       ++CITIZENS BANK OF CUMBERLAND COUNTY,     PO BOX 810,    BURKESVILLE KY 42717-0810
               (address filed with court: Citizens Bank of Cumberland,       PO Box 810,    Burkesville, KY 42717)
6664700        +Cardiac Surgery of Southern KY,     350 Park Street Ste 210,    Bowling Green, KY 42101-1784
6664701        +CarePayment Customer Care,    9600 SW Nimbus Avenue Ste 260,      Beaverton, OR 97008-7386
6664705        +First & Farmers National Bank,     PO Box 337,    Burkesville, KY 42717-0337
6664710        +Hillcrest Credit Agency,    P.O. Box 2220,     Bowling Green, KY 42102-2220
6664711        +Hodges & Adams,    Hon Charles W Adams,    PO Box 1865,    Bowling Green, KY 42102-1865
6664712        +Hodges & Adams,    Hon Hoy P Hodges,    PO Box 1865,    Bowling Green, KY 42102-1865
6664713         K G Sahetya PSC,    PO Box 90039,    Bowling Green, KY 42102-9039
6664714         Medical Center at Bowling Green,     PO Box 90010,    Bowling Green, KY 42102-9010
6664715        +Metcalfe Circuit Court,    Case No. 19-CI-00067,     PO Box 27,    Edmonton, KY 42129-0027
6664716        +Metcalfe District Court,    Case No. 19-C-00116,     PO Box 27,    Edmonton, KY 42129-0027
6664719         Springfield Radiology Assoc PC,     PO Box 291283,    Nashville, TN 37229-1283
6664720         T J Samson Business Office,    PO Box 645573,     Cincinnati, OH 45264-5573
6664722        +TJ Samson Community Hospital,     Business Office,    1301 North Race Street,
                 Glasgow, KY 42141-3454
6664721        +Taylor Regional ENT,    1698 Old Lebanon Road,     Campbellsville, KY 42718-9662
6664724         Zoll Services LLC,    269 Mill Road,    Chelmsford, MA 01824-4105

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/PDF: gecsedi@recoverycorp.com Mar 18 2020 21:37:17        Synchrony Bank,
                 c/o PRA Receivables Management, LLC,    PO Box 41021,     Norfolk, VA 23541-1021
6664703         E-mail/Text: jamiecollins@cchospital.org Mar 18 2020 21:23:52        Cumberland County Hospital,
                 P.O. Box 280,    Burkesville, KY 42717-0280
6664704         E-mail/Text: jamiecollins@cchospital.org Mar 18 2020 21:23:52
                 Cumberland County Hospital Assoc.,    P.O. Box 280,    Burkesville, KY 42717-0280
6664706         E-mail/Text: jamiecollins@cchospital.org Mar 18 2020 21:23:53        Flowers Rural Health Clinic,
                 PO Box 1079,   Burkesville, KY 42717-1079
6664707         E-mail/Text: bankruptcies@foxcollection.com Mar 18 2020 21:24:08
                 Fox Collection Center, Inc.,    456 Moss Trail,    P.O. Box 528,    Goodlettsville, TN 37070-0528
6664709         E-mail/Text: bankruptcy@glacompany.com Mar 18 2020 21:21:45        GLA Collection Co., Inc.,
                 P.O. Box 991199,    Louisville, KY 40269-1199
6664708         E-mail/Text: bankruptcy@glacompany.com Mar 18 2020 21:21:45        GLA Collection Co., Inc.,
                 PO Box 588,   Greensburg, IN 47240-0588
6664717        +E-mail/Text: financial@mcmccares.com Mar 18 2020 21:25:06        Monroe County Medical Center,
                 529 Capp Harlan Road,    Tompkinsville, KY 42167-1840
6664718        +E-mail/PDF: gecsedi@recoverycorp.com Mar 18 2020 21:37:17        PayPal Credit,    PO Box 5138,
                 Lutherville Timonium, MD 21094-5138
6665817        +E-mail/PDF: gecsedi@recoverycorp.com Mar 18 2020 21:51:01        Synchrony Bank,
                 c/o of PRA Receivables Management, LLC,     PO Box 41021,    Norfolk, VA 23541-1021
6664723        +E-mail/Text: bankruptcydepartment@tsico.com Mar 18 2020 21:25:54        Transworld Systems Inc,
                 PO Box 15270,    Wilmington, DE 19850-5270
                                                                                                TOTAL: 11

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
6674831*        ++CITIZENS BANK OF CUMBERLAND COUNTY,   PO BOX 810,   BURKESVILLE KY 42717-0810
                 (address filed with court: Citizens Bank of Cumberland County,    P. O. Box 810,
                   Burkesville, KY 42717)
                                                                                              TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 20, 2020                                             Signature: /s/Joseph Speetjens
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                             Form ID: 267                 Total Noticed: 31

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 18, 2020 at the address(es) listed below:
              Benjamin D. Rogers   on behalf of Joint Debtor Lisa Susan Huckelby
               lisa.walker@rogersanddriver.com, rogersbr82851@notify.bestcase.com
              Benjamin D. Rogers   on behalf of Debtor Phillip Clay Huckelby lisa.walker@rogersanddriver.com,
               rogersbr82851@notify.bestcase.com
              Charles R. Merrill   ustpregion08.lo.ecf@usdoj.gov
              Mark H. Flener   mark@Flenerlaw.com, ky11@ecfcbis.com;deanna@flenerlaw.com
                                                                                            TOTAL: 4
